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 1
                                  UNITED STATES DISTRICT COURT
 2                               NORTHERN DISTRICT OF CALIFORNIA
 3
     IN RE: ROUNDUP PRODUCTS                                 MDL No. 2741
 4   LIABILITY LITIGATION                                    Case No. 16-md-02741-VC
 5   ________________________________________                JOINT CASE MANAGEMENT
                                                             STATEMENT
 6   This document relates to:
 7   Ramirez, et al. v. Monsanto Co., Case No.
     3:19-cv-02224
 8

 9

10
              Pursuant to PTO 216 and this Court’s Order to Reschedule Case Management
11
      Conference [Dkt. No. 11425], the parties have conferred and are submitting this joint case
12
      management statement in advance of the August 27, 2020 case management conference.
13

14    PLAINTIFFS’ RESPONSE TO PTO 216

15            Monsanto has set forth below the general settlement process, and presumably most of

16    the MDL Plaintiffs will be subject to a multi-step aggregate settlement process as generally
17    described below. It is important to note, however, that settlements between Monsanto and
18
      various claimants involve different confidential settlement agreements that are being
19
      negotiated with different details and timelines depending on the plaintiffs’ firm who
20
      represents the claimant or claimants. Those differences will impact the filing of dismissals,
21

22    as the process for filing dismissals is specified in the master settlement agreement.

23            Despite the above, Co-Lead Counsel believes the parties’ response to PTO 216 should

24    also include a list of law firms that have signed binding MSAs and/or non-binding Term
25
      Sheets with Monsanto, to include a list of the MDL Plaintiffs subject to those binding
26
      agreements. As stated above, because these are private and confidential agreements, Co-Lead
27
      Counsel does not have access to this information despite asking for it in advance of the filing.
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 1    Therefore, Co-Lead Counsel is only able to respond to PTO 216 with respect to their
 2    individual law firms.
 3
             Finally, as individual MDL law firms are at different phases of their settlement
 4
      negotiations, Co-Lead Counsel has been informed that some MDL law firms will be
 5
      submitting separate submissions regarding the status of their settlement.
 6

 7   MONSANTO’S RESPONSE TO PTO 216

 8           Monsanto and some law firms have entered into private confidential agreements that

 9    set up a settlement process relating to the clients of those firms. Monsanto continues to have
10
      settlement discussions and hopes to enter into agreements or finalize agreements with other
11
      firms. Monsanto recognizes that the Court is looking for guidance as to where the various
12
      claimants are in stages of the settlement process, the number of dismissals that will eventually
13
      be filed and when dismissals might be expected. But as plaintiffs note above, the settlements
14

15    between Monsanto and various claimants involve different confidential settlement agreements

16    that are being negotiated with different details and timelines depending on the plaintiffs’ firm
17    who represents the claimant or claimants and that impacts the timing of the filing of
18
      dismissals. Public submission of details of discussions with specific firms would put those
19
      settlement efforts at risk. The Court can, of course, discuss all matters relating to possible
20
      settlements with the Special Master -- as contemplated by the process that the Court
21

22    established. Alternatively, given the confidential nature of the settlement process, Monsanto

23    would be willing to provide information regarding the status of the various settlement

24    agreements to the Court under seal and to provide any updates to the Court on a confidential,
25    regular basis (e.g., monthly).
26
             Settlement processes of this type often contain numerous preconditions that must be
27
      met prior to finalizing individual settlements. For example, these agreements often contain
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 1    requirements that each claimant submit a claims package, and a settlement claims
 2    administrator must review that package to confirm that each claimant is eligible to participate.
 3
      Settlement agreements of this type may also contain provisions for the parties to conduct
 4
      random audits relating to eligibility determinations made by the claims administrator.
 5
      Additionally, these agreements generally contain provisions that require that a certain
 6

 7    percentage of the firm’s claimants participate in the settlement program and may also limit

 8    the number of claimants that can “opt out” of the settlement program. The parties generally

 9    retain walkaway rights until those participation requirements are met, and no payments to any
10
      individual claimant can be made until the parties’ walkaway rights have expired and have not
11
      been exercised.
12
             Finalizing these settlements is usually dependent on each individual claimants’ review
13
      of the agreement and their consent to the terms. In order to ensure that each claimant is
14

15    properly informed about the agreement, attorneys representing claimants explain the terms of

16    the agreement to each of the claimants and help each claimant evaluate his or her options for
17    how to proceed. No individual whose claims are part of an aggregate settlement is required
18
      to accept the terms of the agreement. This process sometimes requires several
19
      communications between claimants and his/her counsel. Moreover, each claimant is often
20
      required to provide a claims package to participate in the settlement, which includes
21

22    documents to support the claimant’s eligibility to participate in the program as well as a

23    release of his or her claims. Therefore, when dealing with settlements that contain tens of

24    thousands of claimants, these discussions can take several months to complete.
25           As noted above, these types of settlements require the claims administrator to review
26
      the claims package submitted by each claimant and determine whether the proper
27
      documentation has been provided and that the claimant meets the eligibility requirements. If
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 1    the claims administrator finds that the claims package submitted by an individual claimant is
 2    deficient in some way, the claimant often will have a time period to cure that deficiency. If
 3
      the claims administrator determines that a claimant is ineligible even after the period to cure
 4
      the deficiency, these settlement agreements generally provide a right for the claimant to appeal
 5
      a determination of ineligibility. Finally, individual claimants are often required to certify that
 6

 7    all medical liens or other costs will be borne by the claimant and have been satisfied or will

 8    be satisfied before receiving a settlement payment. No payments to any individual claimant

 9    can be made and no dismissals can be filed with the Court until all these preconditions are
10
      met and a release provided.
11
             This multi-step process of settlement takes many months if not a year to complete.
12
      Indeed, in the Xarelto MDL before Judge Fallon in the Eastern District of Louisiana, part of
13
      a litigation that contained around 25,000 lawsuits, the settlement was first announced on
14

15    March 25, 2019 (See Ex. 1, March 25, 2019 Press Release), and the first MDL cases were not

16    officially dismissed until February 26, 2020. See Ex. 2, In Re: Xarelto (Rivaroxaban) Prods.
17    Liab. Litig., MDL No. 2592 (E.D. La.), Dkt. No 17605. Additional cases were still being
18
      dismissed as recently as July 2020. See Ex. 3, In Re: Xarelto (Rivaroxaban) Prods. Liab.
19
      Litig., MDL No. 2592 (E.D. La.), Dkt. No 17797. Likewise, in the Fluoroquinolone MDL
20
      before Judge Tunheim in the District of Minnesota, the settlement was first publicly
21

22    announced on January 2, 2019 (See Ex. 4, January 7, 2019 Mealey’s Daily News Update) and

23    the 315 MDL cases subject to the settlement were not dismissed until October 15, 2019. See

24    Ex. 5, In Re: Fluoroquinolone Prods. Liab. Litig., MDL No. 2642 (D. Minn.), Dkt. No. 905.
25    In the Testosterone Replacement Therapy MDL before Judge Kennelly in the Northern
26
      District of Illinois, the settlement was first announced on June 11, 2018 (See Ex. 6, June 11,
27
      2018 Press Release), and dismissals did not begin until December 2018. See Ex. 7, In Re:
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 1    Testosterone Replacement Therapy Prods. Liab. Litig., MDL No. 2545 (Case No. 1:16-cv-
 2    00913), (N.D. Ill.), Dkt. No. 22. Additional cases were still being dismissed as of January
 3
      2020. See Ex. 8, In Re: Testosterone Replacement Therapy Prods. Liab. Litig., MDL No.
 4
      2545 (Case No. 1:18-cv-01592), (ND. Ill.), Dkt. No. 5. In the Medtronic implantable cardiac
 5
      devices MDL, before Judge Kyle in the District of Minnesota, the parties announced that they
 6

 7    reached a settlement agreement on October 14, 2010. (See Ex. 9 October 14, 2010 press

 8    release). The MDL court dismissed cases entering into the settlement agreement eight months

 9    later, on June 30, 2011. (See Ex. 10, In re Medtronic, Inc., Sprint Fidelis Leads Prods. Liab.
10
      Litig., MDL No. 08- 1905 (D. Minn.), Dkt. No. 424.
11
             Given the multistep process involved in executing these types of agreements, there is
12
      only one case that can be dismissed at this time; Elaine Stevick v. Monsanto (3:16-cv-02341).
13
      Likewise, the only pending motion that can be terminated is motion number 2419, Motion for
14

15    Summary Judgment re: Tier 1 Plaintiffs on Non-Causation Grounds filed by Monsanto

16    Company, as it pertains to Ms. Stevick. The motion remains pending as it pertains to Plaintiff
17    Gebeyehou. However, some individual motions, particularly in Wave One, may become
18
      moot as a result of planned mediations or separate settlement agreements for individual cases.
19
      The parties can provide monthly updates to the Court, if the Court would like, in advance of
20
      the November conference.
21

22           Finally, there are some law firms representing individuals in the MDL proceeding with

23    whom settlement discussions have not begun. Monsanto proposes that the Court establish a

24    process under the auspices of the Special Master to mediate the cases of those firms as soon
25    as possible. Monsanto can provide a list of those firms to the Court in camera.
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